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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                            )
CYNTHIA JOHNSON,                            )
                                            )
              Plaintiff,                    )
                                            )
              v.                            )      No. 16-cv-02447 (KBJ)
                                            )
EXPERIAN INFORMATION                        )
SOLUTIONS, INC., et al.,                    )
                                            )
              Defendants.                   )
                                            )

      PROVISIONAL ORDER DISMISSING CASE DUE TO SETTLEMENT

       On June 7, 2017, Plaintiff and Defendant Credit One Bank, N.A. filed a joint

notice informing the Court that they have reached a settlement. (ECF No. 37.) Upon

receipt of notice that a matter has settled, it is the practice of this Court to issue a

provisional order of dismissal that permits the parties to reopen the matter if the

settlement is not consummated. (General Order and Guidelines for Civil Cases Before

Judge Ketanji Brown Jackson, ECF No. 22, App’x ¶ 7(b).)

       All other defendants have now reached settlement and been dismissed from this

action with prejudice. (ECF Nos. 23, 40, 42; Minute Order dated May 19, 2017.)

Accordingly, it is hereby

       ORDERED that this case is DISMISSED without prejudice. If settlement is not

consummated, either party may reopen the action until September 14, 2017, upon

motion approved by the Court. Should counsel fail to move to reopen the case within

the prescribed period, the case shall, without further order, stand dismissed with

prejudice. It is
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      FURTHER ORDERED that the Status Conference set for 8/3/2017 at 2:00 PM

in Courtroom 17 before Judge Ketanji Brown Jackson is hereby CANCELLED.



Date: July 31, 2017                 Ketanji Brown Jackson
                                    KETANJI BROWN JACKSON
                                    United States District Judge  
